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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 CITRIX SYSTEMS, INC.,                            )
                                                  )
                Plaintiff,                        )
                                                  )   C.A. No. 18-588-GMS
        v.                                        )
                                                  )   JURY TRIAL DEMANDED
 WORKSPOT, INC.,                                  )
                                                  )
                Defendant.                        )

                                   NOTICE OF SERVICE

       The undersigned counsel hereby certifies that copies of the following documents were

caused to be served on June 20, 2018, upon the following attorneys of record at the following

addresses as indicated:

       DEFENDANT’S ANSWERS AND OBJECTIONS TO PLAINTIFF’S FIRST
       SET OF INTERROGATORIES (NOS. 1-5) [CONFIDENTIAL-PURSUANT
       TO PROTECTIVE ORDER]

       DEFENDANT’S RESPONSE TO PLAINTIFF’S FIRST SET OF REQUESTS
       FOR PRODUCTION (NOS. 1-16)

VIA ELECTRONIC MAIL

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